Case: 1:17-md-02804-DAP Doc #: 2364-58 Filed: 08/14/19 1 of 5. PageID #: 385446




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           Exhibit 503
Case: 1:17-md-02804-DAP Doc #: 2364-58 Filed: 08/14/19 2 of 5. PageID #: 385447
Case: 1:17-md-02804-DAP Doc #: 2364-58 Filed: 08/14/19 3 of 5. PageID #: 385448
Case: 1:17-md-02804-DAP Doc #: 2364-58 Filed: 08/14/19 4 of 5. PageID #: 385449
Case: 1:17-md-02804-DAP Doc #: 2364-58 Filed: 08/14/19 5 of 5. PageID #: 385450
